
¶ 1 A Special Department of the Court, composed of Chief Justice Fairhurst and Justices Owens, Stephens, González, and Yu, considered at its August 7, 2018, Motion Calendar, whether review should be granted pursuant to RAP 13. 4(b), and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the petition for review is granted only on the issue whether the imposition of mandatory legal financial obligations on the Petitioner violates the Social Security Act's antiattachment provision. Any party may serve and file a supplemental brief within 30 days of the date of this order, see RAP 13.7(d).
For the Court/s/ Fairhurst, C.J. CHIEF JUSTICE
